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                                                   AFFIDAVIT OF NON SERVICE

 UNITED STATES DISTRICT COURT                                                             Case #: 20-cv-1054
 NORTHERN DISTRICT OF ILLINOIS

                                           Republic Technologies (NA), LLC and Sream, Inc.
                                                                                                                        Plaintiff
                                                                      vs.

                                  Raw Smoke & Tobacco Inc., Hemal Kumar Patel and Hemlta Patel
                                                                                                                       Defendant

 The undersigned, being first duly sworn, on oath deposes and says: that s(he) is now and at all the times herein mentioned was
 a citizen of the United States, over the age of eighteen, not an officer of plaintiff corporation, not a party to nor interested in the
 above entitled action, and is competent to be witness therein.

 Affiant states s(he) attempted to serve Hemal Kumar Patel, at 2335 Bode Rd, Schaumburg, IL 60194, with the Summons &
 Complaint; Exhibit(s) and after due search, careful inquiry and diligent attempts, was unable to effect service for the following
 reasons:

04/03/2020      04:45 PM - Address is a retail store Raw Smoke & Tobacco. I spoke with owner Rutul Patel. He told me
                           defendants Hermal Kumar Patel and Hemita Patel do not work here or have any affiliation with this
                           business. Rutul Patel told me the defendants where the previous owners. He said he bought the
                           business Raw Smoke & Tobacco from defendants 18 months ago.
I declare under penalties of perjury that the information contained herein is true and correct.




_______________________________________________
Craig Palmer, Lic # 117-001119
Judicial Attorney Services, Inc.
2100 Manchester Rd., Ste 505
Wheaton, IL 60187
(630) 221-9007

SUBSCRIBED AND SWORN to before me on the 6th day of April, 2020.



_______________________________________________
NOTARY PUBLIC




 CLIENT: The Ticktin Law Group                                                                                             Tracking #: 433250
 FILE #: 17-0317
